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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA,

           v.
                                                          Criminal Action No. 24-CR-436 (TSC)
    MARK CHRISTIAN WROBLEWSKI,

                   Defendant.


                                             ORDER

         The Government’s Motion to Dismiss the Indictment pursuant to Federal Rule of

Criminal Procedure 48(a), ECF No. 28, is GRANTED in part and DENIED in part.

         The Government’s only stated reason for pursuing dismissal with prejudice is that the

President, in addition to pardoning the Defendant, has ordered the Attorney General to do so.

See Gov’t’s Mot. at 1, ECF No. 28 (citing Unnumbered Proclamation, __ Fed. Reg. __ (Jan. 20,

2025).1 The Court does not discern—and neither party has identified—any defect in either the

legal merits of, or the factual basis for, the Government’s case. Indeed, while a pardon exercises

the Executive’s “exclusive authority and absolute discretion to decide whether to prosecute a

case,” United States v. Nixon, 418 U.S. 683, 693 (1974), it “does not necessarily render

‘innocent’ a defendant of any alleged violation of the law,” United States v. Flynn, 507 F. Supp.

3d 116, 136 (D.D.C. 2020).

         More broadly, no pardon can change the tragic truth of what happened on January 6,

2021. On that day, “a mob professing support for then-President Trump violently attacked the



1
    Available at https://www.whitehouse.gov/presidential-actions/2025/01/granting-pardons-and-
    commutation-of-sentences-for-certain-offenses-relating-to-the-events-at-or-near-the-united-
    states-capitol-on-january-6-2021/ [https://perma.cc/W4NT-4K4S].

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United States Capitol” to stop the electoral college certification. Trump v. Thompson, 20 F.4th

10, 15 (D.C. Cir. 2021). The dismissal of this case cannot undo the “rampage [that] left multiple

people dead, injured more than 140 people, and inflicted millions of dollars in damage.” Id. It

cannot diminish the heroism of law enforcement officers who “struggled, facing serious injury

and even death, to control the mob that overwhelmed them.” United States v. Griffin, 119 F.4th

1001, 1004 (D.C. Cir. 2024). It cannot whitewash the blood, feces, and terror that the mob left in

its wake. Thompson, 20 F.4th at 19. And it cannot repair the jagged breach in America’s sacred

tradition of peacefully transitioning power.

       In hundreds of cases like this one over the past four years, judges in this district have

administered justice without fear or favor. The historical record established by those

proceedings must stand, unmoved by political winds, as a testament and as a warning.

       For these reasons, it is hereby ORDERED that the case is DISMISSED without

prejudice. All scheduled proceedings and deadlines are VACATED.



Date: January 22, 2025

                                                    Tanya S. Chutkan
                                                    TANYA S. CHUTKAN
                                                    United States District Judge




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